                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MISSOURI



 SECURITIES AND EXCHANGE COMMISSION,

                                      Plaintiff,
                                                              C.A. No. 20-cv-327
                           v.

 Todd Esh, et al.,

                                      Defendant.



                          CONSENT OF DEFENDANT TODD ESH

       1.      Defendant Todd Esh ("Defendant") waives service of a summons and the

complaint in this action, enters a general appearance, and admits the Court's jurisdiction over

Defendant and over the subject matter of this action.

       2.      Without admitting or denying the allegations of the complaint (except as provided

herein in paragraph 12 and except as to personal and subject matter jurisdiction, which

Defendant admits), Defendant hereby consents to the entry of the Judgment in the form attached

hereto (the "Judgment") and incorporated by reference herein, which, among other things,

permanently restrains and enjoins Defendant Esh from violations of Section 17(a) of the

Securities Act of 1933 ("Securities Act") [15 U.S.C. §77 q(a)] and Section lO(b) of the Securities

Exchange Act of 1934 ("Exchange Act") [15 U.S.C. §§ 78j(b)], and Rule 10b-5 thereunder [17

C.F.R. §§ 240.l0b-5].

       3.      Defendant agrees that he shall not seek or accept, directly or indirectly,

reimbursement or indemnification from any source, including but not limited to payment made

pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays

                                                   -1-

        Case 4:20-cv-00327-BCW Document 6-1 Filed 05/18/20 Page 1 of 7
Case 4:20-cv-00327-BCW Document 6-1 Filed 05/18/20 Page 2 of 7
Case 4:20-cv-00327-BCW Document 6-1 Filed 05/18/20 Page 3 of 7
may arise from the facts underlying this action or immunity from any such criminal liability.

Defendant waives any claim of Double Jeopardy based upon the settlement of this proceeding,

including the imposition of any remedy or civil penalty herein. Defendant further acknowledges

that the Court's entry of a permanent injunction may have collateral consequences under federal

or state law and the rules and regulations of self-regulatory organizations, licensing boards, and

other regulatory organizations. Such collateral consequences include, but are not limited to, a

statutory disqualification with respect to membership or participation in, or association with a

member of, a self-regulatory organization. This statutory disqualification has consequences that

are separate from any sanction imposed in an administrative proceeding. In addition, in any

disciplinary proceeding before the Commission based on the entry of the injunction in this

action, Defendant understands that he shall not be permitted to contest the factual allegations of

the complaint in this action.

        12.    Defendant understands and agrees to comply with the terms of 17 C.F.R.

§ 202.5(e), which provides in part that it is the Commission's policy "not to permit a defendant or

respondent to consent to a judgment or order that imposes a sanction while denying the

allegations in the complaint or order for proceedings," and "a refusal to admit the allegations is

equivalent to a denial, unless the defendant or respondent states that he neither admits nor denies

the allegations." As part of Defendant's agreement to comply with the terms of Section 202.S(e),

Defendant: (i) will not take any action or make or permit to be made any public statement

denying, directly or indirectly, any allegation in the complaint or creating the impression that the

complaint is without factual basis; (ii) will not make or permit to be made any public statement

to the effect that Defendant does not admit the allegations of the complaint, or that this Consent

contains no admission of the allegations, without also stating that Defendant does not deny the



                                                -4-

        Case 4:20-cv-00327-BCW Document 6-1 Filed 05/18/20 Page 4 of 7
Case 4:20-cv-00327-BCW Document 6-1 Filed 05/18/20 Page 5 of 7
Case 4:20-cv-00327-BCW Document 6-1 Filed 05/18/20 Page 6 of 7
         16.   Defendant agrees to waive all objections, including but not limited to,

constitutional, timeliness, and procedural objections, to the administrative proceeding that will be

instituted when the judgment is entered.

         17.   Defendant agrees that the Commission may present the Judgment to the Court for

signature and entry without further notice.

         18.   Defendant agrees that this Court shall retain jurisdiction over this matter for the

purpose of enforcing the terms of the Judgment.



Dated:   ra kc0        Cf1 2o20
                                              Todd Esh



                                                                             --
       On      �/4      9' 2020_,                                     ,
                                                                 a person known to me,


                                                                            -
                                       1;:,d._ � esh
personally appeared before me and acknowledged executing the foregoing Consent.



                                              Notary�4
                                                      A                   r
                                              Commission expires: i o t 3' ( ;;i_,c, .::2. .3




     ord Law Fi
4200 Somerset Drive, Suite 237
Prairie Village, Kansas 66208


Counsel for Todd Esh




                                                -7-
         Case 4:20-cv-00327-BCW Document 6-1 Filed 05/18/20 Page 7 of 7
